Case Number: PC-2020-06526
Filed in Providence/Bristol County Superior Court
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              STATE OF RHODE ISLAND                                                               SUPERIOR COURT
              PROVIDENCE, SC.


              LINDA R. SCHAAD                                        )

                                                                     )
                           vs.                                       )                            C.A.NO: PC-2020-
                                                                     )
              TEXAS ROADHOUSE HOLDINGS, LLC.                         )
              Alias    ABC Corporation and John Doe                  )




                                                        COMPLAINT
                                                                    COUNT       I

                                                                (Negligence)



                           Now comes the Plaintiff in the above-entitled cause and alleges and says:


                           1.That the Plaintiff Linda R. Schaad           is   a resident of the    Town of Warren, County of
              Providence, State of Rhode Island.


                           2.       That the Defendant Texas Roadhouse Holdings LLC, Alias ABC Corporation
              (hereinafter referred to as Defendant       “Texas Roadhouse”) upon information and belief is a
              foreign corporation organized and existing under the laws of the State of Kentucky,                   is   authorized
             todo business within the State of Rhode Island and                     is in fact   doing business in the State of
             Rhode Island.

                            That the Defendant John Doe is unknown to Plaintiﬂ‘ at
                           3.                                                                               this   time and was
             responsible for the design of the customer booths located at 131 Faunce                       Comer Mall Road,
             Dartmouth, Massachusetts and is being sued pursuant to R.I.G.L. §9-5-20.


                    4.     That on or about January 2, 2020, the Defendant Texas Roadhouse, upon
             information and belief owned, operated and/or maintained a property located at 131 Faunce
             Corner Mall Road, Dartmouth, Massachusetts.


                           5.       That on or about January   2,   2020, the Defendant John Doe, upon information and
             belief designed the customer booths located at 131                 Faunce Comer Mall Road, Dartmouth,
             Massachusetts.
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                        6.        That on or about January 2, 2020, the Plaintiff Linda R. Schaad was a business
              invitee   on                               Faunce Corner Mall Road, Dartmouth, Massachusetts.
                              said premises located at 131


                        7.  That on or about January 2, 2020, while stepping down in a careful and prudent
              manner from a booth inside said restaurant, in an area designated by the Defendant Texas
              Roadhouse for the passage of Plaintiff Linda R. Schaad and other business invitees, Plaintiff
              Linda R. Schaad slipped and fell down ﬁ'om a short step between the platform on which the
              booth sat and the ﬂoor that was hazardous and negligently and carelessly allowed to remain in
              the restaurant.


                        8. That Defendant Texas Roadhouse through its agents, servants and/or employees,
              knew or should have known that the said booth of the restaurant would be used by Plaintiff
              Linda R. Schaad and others in her position.

                        9.   That Defendant Texas Roadhouse was under a duty to the Plaintiﬁ' Linda R.
              Schaad and/or others in her position to keep said booth and short step between the platform and
              the ﬂoor free from defects, properly repaired and maintained and otherwise ﬁt, safe, and properly
              maintained for its intended use.


                     11.    That the Defendant Texas Roadhouse through its agents, servants and/or
              employees negligently breached said duties and as a result of said negligence, Plaintiff Linda R.
              Schaad slipped and fell as aforesaid.

                        12.       That   at all   times mentioned herein, Plaintiff Linda R. Schaad was in the exercise
              of due    care.


                        13.       That the Defendant Texas Roadhouse             is liable   for the   damage caused by   the
              negligence of its agents, servants and/or employees.


                      14.    That as a direct and proximate result of the aforesaid negligence on the part of
              Defendant Texas Roadhouse, Plaintiff Linda R. Schaad has suffered great injuries and has
              suffered great pain of body and mind, Plaintiff Linda R. Schaad has expended great sums of
              money for the medical care and treatment of said injuries and Plaintiff has suffered other great
              damage.

                        15.       That the amount claimed         is   sufﬁcient to establish jurisdiction in the Superior
              Court.


                        WHEREFORE,            Plaintiff   demands judgment against Defendant Texas Roadhouse
              Holdings LLC, Alias         ABC Corporation, plus interest and costs.




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                                                                          Plaintiff


                                                                          By   her attorneys,



                                                                        W—W
                                                                          Stephen M. Rappoport, Esq. #1250
                                                                          Rappoport, DeGiovanni        & Caslowitz, Inc.
                                                                          989 Waterman Avenue
                                                                          East Providence, RI 02914
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                                                        COUNT II — NEGLIGENCE
                                                      (Mode of Operation Approach)


                        1-1 1.   That Plaintiff re-alleges paragraphs one through eleven of CountI and incorporate
              the   same herein by   reference.


                        12.      That the nature of Defendant Texas Roadhouse’s business gives rise to a
              substantial risk     of injury to customers such as Plaintiff Linda R. Schaad from slip and fall
              incidents.


                        13.  That the manner in which Defendant Texas Roadhouse’s restaurant operated
              created a foreseeable danger to Plaintiff Linda R. Schaad.


                      14.   That Defendant Texas Roadhouse negligently failed to take all reasonable
              precautions necessary to protect the invitee Plaintiff Linda R. Schaad from the foreseeable
              dangerous conditions.


                       15.    That Defendant Texas Roadhouse negligently failed to take adequate steps to
              forestall the resulting injuries to Plaintiff Linda R. Schaad; that is, Defendant Texas Roadhouse
              acted unreasonably in the circumstances.


                       16.       That   at all   times mentioned herein; Plaintiff Linda R. Schaad was in the exercise
              of due   care.


                       17.       That the Defendant Texas Roadhouse            is   liable for the   damage caused by   the
              negligence of its agents, servants and/or employees.


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                      18.    That as a direct and proximate result of the aforesaid negligence on the part of
              Defendant Texas Roadhouse, Plaintiff Linda R. Schaad has suffered great injuries and has
              suffered great pain of body and mind, Plaintiff Linda R. Schaad has expended great sums of
              money    for the medical care         and treatment of said   injuries   and   Plaintiff has suffered other great
              damage.

                       19.      That the amount claimed           is   sufﬁcient to establish jurisdiction in the Superior
              Court.


                       WHEREFORE,               Plaintiff   demands judgment against Defendant Texas Roadhouse
              Holdings LLC, Alias        ABC Corporation, plus interest and costs.

                                                                             Plaintiff,




                                                                             MWW
                                                                             By   her Attorneys,




                                                                             Stephen M. Rappoport, Esq. #1250
                                                                             Rappoport, DeGiovanni
                                                                             989 Waterman Avenue
                                                                                                                           \
                                                                                                            & Caslowitz, Inc.
                                                                             East Providence, RI 02914
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                                                                             (401) 437-3037 (fax)
                                                                             rap@rdclegal.com




                       l-l 1.
                                                                 w
                                                              (Res Ipsa Loquitur)

                                That Plaintiff re-alleges paragraphs one through eleven of Count               I   and incorporate
              the   same herein by   reference.


                       12.      That   at all   times mentioned herein and prior thereto, said booth and ﬂoor was in
              the exclusive control of the Defendant Texas Roadhouse, through                      its   agents, servants and/or
              employees.


                       13.    That the Plaintiff Linda R. Schaad is without knowledge of the precise acts of
              negligence of Defendant Texas Roadhouse which caused Plaintiff Linda R. Schaad’s said
              injuries and said acts are known by Defendant.




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                        14.  That the type of incident described herein and Plaintiff Linda R. Schaad’s said
              injuries would not ordinarily occur in the absence of negligence on the part of Defendant Texas
              Roadhouse.


                        15.  That said Plaintiff Linda R. Schaad’s injuries were in n0 way contributed to by
              any voluntary acts of the said Plaintiff or by anyone other than Defendant, Texas Roadhouse.

                      16.    That as a direct and proximate result of the aforesaid negligence on the part of
              Defendant Texas Roadhouse, Plaintiff Linda R. Schaad has suffered great injuries and has
              suffered great pain of body and mind, Plaintiff Linda R. Schaad has expended great sums of
              money for the medical care and treatment of said injuries and Plaintiff has suffered other great
              damage.


                       WHEREFORE,          Plaintiff   demands judgment          against   Defendant Texas     Roadhouse
              Holdings LLC, Alias      ABC Corporation, plus interest and costs.

                                                                           Plaintiff




                                                                       Ww  By   her attorneys,




                                                                           Stephen M. Rappoport, Esq. #1250
                                                                           Rappoport, DeGiovanni   & Caslowitz, Inc.
                                                                           989 Waterman Avenue
                                                                           East Providence, RI 02914
                                                                           (401) 437-3000
                                                                           (401) 437—3037 (fax)
                                                                           rap@rdclegal.com




              the
                       1-7.

                    same herein by   reference.
                                                             w
                                                             (Negligence)

                               That Plaintiff re-alleges paragraphs one through seven of Count         I   and incorporate



                       8.      That Defendant John Doe through       its   agents, servants and/or employees,     knew   or
              should have     known   that the said    ﬂoor and booth of the restaurant would be used by          Plaintiff
              Linda R. Schaad and others      in her position.




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                      9.     That Defendant John Doe was under a duty to the Plaintiff Linda R. Schaad
              and/or others in her position, to keep said booth and short step between the platform and the ﬂoor
              free    from defects, properly designed and otherwise              ﬁt, safe,   and properly maintained for    its
              intended use.


                      10.     That the Defendant John Doe through its agents, servants and/or employees
              negligently breached said duties and as a result of said negligence, Plaintiff Linda R. Schaad
              slipped and fell as aforesaid.


                         11.    That   at all   times mentioned herein, Plaintiff Linda R. Schaad was in the exercise
              of due    care.


                         12.    That the Defendant John Doe         is liable   for the   damage caused by   the negligence of
              its   agents, servants and/or employees.


                         13.That as a direct and proximate result of the aforesaid negligence on the part of
              Defendant John Doe, Plaintiff Linda R. Schaad has suffered great injuries and has suffered great
              pain of body and mind, Plaintiff Linda R. Schaad has expended great sums of money for the
              medical care and treatment of said injuries and Plaintiff has suffered other great damage.


                        14.     That the amount claimed        is   sufﬁcient to establish jurisdiction in the Superior
              Court.


                        WHEREFORE,         Plaintiff   demands judgment against Defendant John Doe plus               interest
              and    costs.



                                                                            Plaintiff




                                                                           ﬁW
                                                                            By    her attorneys,




                                                                            Stephen M. Rappoport, Esq. #1250
                                                                            Rappoport, DeGiovanni       & Caslowitz, Inc.
                                                                           989 Waterman Avenue
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                                                       COUNT V — NEGLIGENCE
                                                     (Mode of Operation Approach)


                         1-7.   That Plaintiff re-alleges paragraphs one through seven of Count                I   and incorporate
              the   same herein by     reference.


                         8.   That the nature of Defendant John Doe’s business gives rise to a substantial risk
              of injury to customers such as Plaintiff Linda R. Schaad from slip and fall incidents.

                        9.      That the manner in which Defendant John Doe’s restaurant operated created a
              foreseeable danger to Plaintiff Linda R. Schaad.


                         10.    That Defendant John        Doe                 all reasonable precautions
                                                                  negligently failed to take
              necessary to protect the invitee Plaintiff Linda R. Schaad ﬁ'om the foreseeable dangerous
              conditions.


                         11.    That Defendant John Doe negligently failed to take adequate steps to forestall the
                                                                  is, Defendant John Doe acted unreasonably in
              resulting injuries t0 Plaintiff Linda R. Schaad; that
              the circumstances.


                         12.    That   at all   times mentioned herein, Plaintiff Linda R. Schaad         was      in the exercise
              of due    care.


                         13.    That the Defendant John Doe           is liable   for the   damage caused by   the negligence of
              its   agents, servants and/or employees.


                        l4. That as a direct and proximate result of the aforesaid negligence on the part of
              Defendant John Doe, Plaintiff Linda R. Schaad has suffered great injuries and has suffered great
              pain of body and mind, Plaintiff Linda R. Schaad has expended great sums of money for the
              medical care and treatment of said injuries and Plaintiﬁ' has suffered other great damage.


                        15.     That the amount claimed          is   sufﬁcient to establish jurisdiction in the Superior
              Court.


                        WHEREFORE,         Plaintiff   demands judgment against Defendant John Doe plus                   interest
              and    costs.




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                                                                        Plaintiff,



                                                                        By


                                                                       @5747
                                                                             her Attorneys,



                                                                                               JW
                                                                        Stephen M. Rappopon, Esq. #1250
                                                                        Rappoport, DeGiovanni
                                                                        989 Waterman Avenue
                                                                                                    & Caslowitz, Inc.
                                                                        East Providence, RI 02914
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                                                                       rap@rdclegal.com




                                                              COUNT VI
                                                          (Res Ipsa Loquitur)

                       1-7.    That Plaintiff re-alleges paragraphs one through seven of Count         I   and incorporate
              the   same herein by   reference.


                       8.      That   at all   times mentioned herein and prior thereto, said ﬂoor and booth was in
              the exclusive control of the Defendant John       Doe through   its   agents, servants and/or employees.


                       9.      That the Plaintiff Linda R. Schaad      is   without knowledge of the precise acts of
              negligence of Defendant John          Doe which caused   Plaintiff    Linda R. Schaad’s said    injuries   and
              said acts are   known by   Defendant.


                       10.   That the type of incident described herein and Plaintiff Linda R. Schaad’s said
              injuries would not ordinarily occur in the absence of negligence on the part of Defendant John
              Doe.


                       11.   That said Plaintiff Linda R. Schaad’s injuries were in no way contributed to by
              any voluntary acts of the said Plaintiff or by anyone other than Defendant John Doe.

                     12.    That as a direct and proximate result of the aforesaid negligence on the part of
              Defendant John Doe, Plaintiff Linda R. Schaad has suffered great injuries and has suffered great
              pain of body and mind, Plaintiff Linda R. Schaad has expended great sums of money for the
              medical care and treatment of said injuries and Plaintiff has suffered other great damage.




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                        WHEREFORE,              Plaintiff   demands judgment against Defendant John Doe plus           interest
              and    costs.


                                                                              Plaintiff


                                                                              By   her attorneys,




                                                                              Stephen M. Rappoport, Esq. #1250
                                                                              Rappoport, DeGiovanni     & Caslowitz, Inc.
                                                                              989 Waterman Avenue
                                                                              East Providence, RI 02914




                                                                              WM
                                                                              (401) 437-3000
                                                                              (401) 43 7-3037 (fax)




                                                                   gm;
                        1-7.      That Plaintiff re-alleges paragraphs one through seven of Count         I   and incorporates
              the    same herein by      reference.


                        8.        ThatDefendants through their agents, servants and/or employees, knew or
                                          all

              should have known that the ﬂoor and booth of said premises would be used by Plaintiff Linda R.
              Schaad and others in her position.

                        9.        That    allDefendants were under a duty to the Plaintiff Linda R. Schaad and others
              in her position, to       keep said booth and short step on the platform between the booth and the ﬂoor
              free    from     defects, properly       repaired and maintained and otherwise ﬁt, safe, and properly
              maintained for      its   intended use.


                        10.       That
                                     Defendants, through their agents, servants and/or employees negligently
                                          all

              breached said duties and as a result of said negligence, Plaintiff Linda R. Schaad slipped and fell
              as aforesaid.


                        11.       That    at all   times mentioned herein Plaintiff Linda R. Schaad was in the exercise
              of due   care.


                        12.       That    all   Defendants are   liable for the   damage caused by   the negligence of their
              agents, servants and/or employees.


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                       13.  That as a direct and proximate result of the aforesaid negligence on the part of all
              Defendants, Plaintiff Linda R. Schaad has suffered great injuries and has suffered great pain of
              body and mind, Plaintiff Linda R. Schaad has expended great sums of money for the medical
              care and treatment of said    inj uries   and   Plaintiff has suffered other great           damage.

                       14.       That the amount claimed          is   sufﬁcient to establish jurisdiction in the Superior
              Court.


                       WHEREFORE,         Plaintiff   demands judgment        against        all   Defendants, jointly and severally,
              plus interest and costs.
                                                                             Plaintiff




                                                                             K24
                                                                             By       her attorneys,



                                                                             Stephen M. Rappoport, Esq. #TZSO
                                                                             Rappoport, DeGiovanni              & Caslowitz, Inc.
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                       I,   the undersigned, hereby certify that        on the    E
                                                                                       N(kday of            /            020,   I   ﬁled
              this   document    electronically and   it is   available for viewing and/or             down oading from   the   Rhode
              Island Judiciary’s Electronic Filing System.
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                                                                             Jéd¥°e H. Federowicz




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